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The search will include any vehicle parked in the driveway or directly in front of the
PREMISES which is associated with Epifanio ESPINOSA or any other resident of the
PREMISES, or which is associated with any co-conspirator.
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